Case 18-03347 Document 5 Filed in TXSB on 12/20/18 Page 1 of 9

Unifed States Courts
SOuthem D|strict of Texas
IN THE UNITED STATES BANKRUPTCY COURH`| L E D

FoR THE soUTHERN I)ISTRICT oF TEX
HoUsToN DlvlsIoN AD%C 2 0 2013

David J. Brad|ey, C|erk of Court

IN RE:
GIANT GRAY, INC., CASE NO. 18-31910-H2-7

DEBTOR

 

LOWELL T. CAGE, TRUSTEE

PLAINTIFF
v.

ADVERSARY NO. / g' 53¢'7

DEBRA DAVIS,

€m€m€m@m°m°O'->QOCOOO WW>OUJWD¢MOM

DEFENDANT
ANSWER OF DEFENDANT DEBRA S. DAVIS

Defendant Debra S. Davis files this Answer to the Complaint of the Plaintiff,
Lowell T. Cage, Trustee, as follows:

The numbered paragraphs below correspond to the numbered paragraphs in
the Complaint.

PARTIES AND JURISDICTION

1. Ms. Davis acknowledges the statement in paragraph l of the

Complaint is true.

2. Ms. Davis acknowledges the statement in paragraph 2 of the

Complaint is true.

Case 18-03347 Document 5 Filed in TXSB on 12/20/18 Page 2 of 9

3. Ms. Davis acknowledges the statement in paragraph 3 of the
Complaint is true.

4. Ms. Davis acknowledges the statement in paragraph 4 of the
Complaint is true in that Plaintiff seeks relief pursuant to the listed statutes, but
Ms. Davis denies that Plaintiff is entitled to such relief.

5. Ms. Davis acknowledges the statement in paragraph 5 of the
Complaint is true and this Court has authority to enter a final judgment.

SUMMARY OF THIS ADVERSARY PROCEEDING

6. Ms. Davis acknowledges that Plaintiff is seeking to recover from her

as stated in Paragraph 6, but denies that such relief is appropriate
STATEMENT OF FACTS

7 . Ms. Davis is without sufficient information to form a belief as to the
truth of the allegations in Paragraph 7, and therefore denies the allegations

8. Ms. Davis is without sufficient information to form a belief as to the
truth of the allegations in Paragraph 8, and therefore denies the allegations

9. Ms. Davis admits the allegation in Paragraph 9.

10. Ms. Davis denies the allegations in Paragraph lO.

ll. Ms. Davis is without sufficient information to form a belief as to the
truth of the allegations in Paragraph ll, and therefore denies the allegations

12. Ms. Davis is without sufficient information to form a belief as to the

truth of the allegations in Paragraph 12, and therefore denies the allegations

Case 18-03347 Document 5 Filed in TXSB on 12/20/18 Page 3 of 9

l3. Ms. Davis is without sufficient information to form a belief as to the
truth of the allegations in Paragraph 13, and therefore denies the allegations

14. Ms. Davis is without sufficient information to form a belief as to the
truth of the allegations in Paragraph 14, and therefore denies the allegations

15. Ms. Davis is without sufficient information to form a belief as to the
truth of the allegations in Paragraph 15, and therefore denies the allegations

16. Ms. Davis is without sufficient information to form a belief as to the
truth of the allegations in Paragraph 16, and therefore denies the allegations

17. Ms. Davis is without sufficient information to form a belief as to the
truth of the allegations in Paragraph l7, and therefore denies the allegations

18. Ms. Davis is without sufficient information to form a belief as to the
truth of the allegations in Paragraph 18, and therefore denies the allegations

l9. Ms. Davis is without sufficient information to form a belief as to the
truth of the allegations in Paragraph l9, and therefore denies the allegations

20. Ms. Davis is without sufficient information to form a belief as to the
truth of the allegations in Paragraph 20, and therefore denies the allegations

21. Ms. Davis is without sufficient information to form a belief as to the
truth of the allegations in Paragraph 21, and therefore denies the allegations

22. Ms. Davis is without sufficient information to form a belief as to the

truth of the allegations in Paragraph 22, and therefore denies the allegations

 

Case 18-03347 Document 5 Filed in TXSB on 12/20/18 Page 4 of 9

23. Ms. Davis is without sufficient information to form a belief as to the
truth of the allegations in Paragraph 23, and therefore denies the allegations

24. Ms. Davis is without sufficient information to form a belief as to the
truth of the allegations in Paragraph 24, and therefore denies the allegations

25. Ms. Davis is without sufficient information to form a belief as to the
truth of the allegations in Paragraph 25, and therefore denies the allegations

26. Ms. Davis is without sufficient information to form a belief as to the
truth of the allegations in Paragraph 26, and therefore denies the allegations

27. Ms. Davis is without sufficient information to form a belief as to the
truth of the allegations in Paragraph 27, and therefore denies the allegations

28. Ms. Davis is without sufficient information to form a belief as to the
truth of the allegations in Paragraph 28, and therefore denies the allegations

29. Ms. Davis is without sufficient information to form a belief as to the
truth of the allegations in Paragraph 29, and therefore denies the allegations

30. Ms. Davis is without sufficient information to form a belief as to the
truth of the allegations in Paragraph 30, and therefore denies the allegations

3 l. Ms. Davis is without sufficient information to form a belief as to the
truth of the allegations in Paragraph 3 l, and therefore denies the allegations

32. Ms. Davis is without sufficient information to form a belief as to the

truth of the allegations in Paragraph 32, and therefore denies the allegations

Case 18-03347 Document 5 Filed in TXSB on 12/20/18 Page 5 of 9

33. Ms. Davis is without sufficient information t0 form a belief as to the
truth of the allegations in Paragraph 33, and therefore denies the allegations

34. Ms. Davis is without sufficient information to form a belief as to the
truth of the allegations in Paragraph 34, and therefore denies the allegations

35. Ms. Davis admits the allegations stated in the first two sentences of
Paragraph 35. She is without sufficient information to form a belief as to the truth
of the allegations in the second two sentences of Paragraph 35.

36. Ms. Davis is without sufficient information to form a belief as to the
truth of the allegations in Paragraph 36, and therefore denies the allegations

37. Ms. Davis is without sufficient information to form a belief as to the
truth of the allegations in Paragraph 37, and therefore denies the allegations

38. Ms. Davis is without sufficient information to form a belief as to the
truth of the allegations in Paragraph 38, and therefore denies the allegations

39. Ms. Davis is without sufficient information to form a belief as to the
truth of the allegations in Paragraph 39, and therefore denies the allegations

40. Ms. Davis is without sufficient information to form a belief as to the
truth of the allegations in Paragraph 4(), and therefore denies the allegations

4l. Ms. Davis is without sufficient information to form a belief as to the
truth of the allegations in Paragraph 41, and therefore denies the allegations

42. Ms. Davis is without sufficient information to form a belief as to the

truth of the allegations in Paragraph 42, and therefore denies the allegations

Case 18-03347 Document 5 Filed in TXSB on 12/20/18 Page 6 of 9

43. Ms. Davis denies the allegations in Paragraph 43.

44. Ms. Davis is without sufficient information to form a belief as to the
truth of the allegations in Paragraph 44, and therefore denies the allegations

45. Ms. Davis is without sufficient information to form a belief as to the
truth of the allegations in Paragraph 45, and therefore denies the allegations

CAUSES OF ACTION
FRAUDULENT TRANSFERS UNDER 11 U.S.C. § 548§3)§ 11 and ga)g2)

46. Paragraph 46 is a conclusion to which no response is required.

47. Ms. Davis denies the allegations in Paragraph 47.

48. Paragraph 47 is a legal conclusion to which no response is required.

49. Ms. Davis denies the allegations in Paragraph 49.

50. Ms. Davis denies the allegations in Paragraph 50.

51. Ms. Davis denies the allegations in Paragraph 51.

52. Ms. Davis denies the allegations in Paragraph 52.

FRAUDULENT TRANSFER UNDER ll U.S.C. 544 AND TEX. BUS. &
COM. CODE 24.001 ET SEQ.

53. Paragraph 53 is a conclusion to which no response is required.

54. Paragraph 54 is a legal conclusion to which no response is required.
55. Ms. Davis denies the allegations in Paragraph 55.

56. Ms. Davis denies the allegations in Paragraph 56.

57. Ms. Davis denies the allegations in Paragraph 57.

 

Case 18-03347 Document 5 Filed in TXSB on 12/20/18 Page 7 of 9

58.

59.

60.

61.

Ms. Davis denies the allegations in Paragraph 58.

Ms. Davis denies the allegations in Paragraph 59.

Ms. Davis denies the allegations in Paragraph 60.
ATTORNEY’S FEES

Paragraph 61 contains a legal conclusion to which no response is

required. To the extent that any response is required, Ms. Davis denies that

Plaintiff is entitled to any fees or costs

APPLICATION FOR TEMPORARY RESTRAINING ()RDER AND

62.

PRELIMINARY AND PERMANENT INJUNCTION

Paragraph 62 is a legal conclusion to which no response is required,

However, Ms. Davis previously agreed to the temporary restraining order and

injunction and, therefore, believes this issue is moot.

63.

64.

65.

66.

67.

68.

69.

70.

Paragraph 63 is a legal conclusion to which no response is required.
Ms. Davis denies the allegations in Paragraph 64.
Ms. Davis denies the allegations in Paragraph 65.
Ms. Davis denies the allegations in Paragraph 66.
Ms. Davis denies the allegations in Paragraph 67.
Ms. Davis denies the allegations in Paragraph 68.
Ms. Davis denies the allegations in Paragraph 69.

Ms. Davis denies the allegations in Paragraph 70.

 

Case 18-03347 Document 5 Filed in TXSB on 12/20/18 Page 8 of 9

AFFIRMATIVE DEFENSES

7 l. Plaintiff has failed to state a claim upon which relief can be granted
and failed to state sufficient facts to constitute a cause of action against Ms. Davis
and the claims should be dismissed.

72. Ms. Davis at all times acted in good faith in receiving and possessing
the property at issue. Ms. Davis has a valid ownership interest in, and, a legitimate
claim to, the property subject to this litigation.

73. The funds and property at issue were not ill-gotten.

74. Ms. Davis invokes the homestead exemption under the Texas
Constitution and the Texas Property Code with respect to the property at 79
Windcrest Falls Dr., Cypress, Texas 77429.

PRAYER FOR RELIEF

Ms. Davis requests that the Court order that Plaintiff take nothing by its
claims, award her costs incurred, and grant such other relief to which she may be
justly entitled.

Respectfully submitted,

THE CoGDELL LAW FIRM, PLLC
/s/ Dan Cogdell

Dan L. Cogdell

Texas Bar No. 04501500

402 Main St., 4th Floor
Houston, Texas 77002

Case 18-03347 Document 5 Filed in TXSB on 12/20/18 Page 9 of 9

Office: 713-426-2244
Facsimile: 713-426-2255
CERTIFICATE OF SERVICE
I certify that a true and correct copy of the foregoing was filed via the
electronic case filing system of the Southern District of Texas, which served a

copy on all interested parties

/s/ Dan Cogdell

 

